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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01607-CNS-STV

  ESTATE OF ABBY ANGELO, et al.

  Plaintiffs,

  v.

  THE BOARD OF COUNTY COMMISSIONERS OF JEFFERSON COUNTY, et al.,

  Defendants.


               D.C.COLO.LCIVR 6.1(a) STIPULATION FOR EXTENSION OF TIME
                  TO RESPOND TO COMPLAINT AND JURY DEMAND [ECF 1]


           Plaintiffs Estate of Abby Angelo, Kristie Angelo, as Personal Representative of the

  Estate and on behalf of K.L., a minor (“Plaintiffs”) and Defendants Board of County

  Commissioners of Jefferson County and Jefferson County Sheriff Reggie Marinelli (the “JeffCo

  Defendants”) hereby stipulate as follows pursuant to D.C.COLO.LCIVR 6.1(a):

          1.      D.C.COLO.LCIVR 6.1(a) permits parties to an action to “stipulate in writing to one

  extension of not more than 21 days beyond the time limits prescribed by the Federal Rules of

  Civil Procedure to respond to a pleading or amended pleading.” Such “stipulation must be filed

  before the expiration of the time limits to respond prescribed in the Federal Rules of Civil

  Procedure and shall be effective on filing, unless otherwise ordered.” Id.

          2.      Currently, the JeffCo Defendants’ response to the Complaint is due on Tuesday,

  August 22, 2023. Plaintiffs and the JeffCo Defendants stipulate to an extension of time up to and

  including September 6, 2023, for the JeffCo Defendants to respond to the Complaint. This

  extension represents a 15-day extension of the current deadline.
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         WHEREFORE, Plaintiff and the JeffCo Defendants hereby stipulate in writing pursuant

  to D.C.COLO.LCIVR 6.1(a) to extension of time up to and including September 6, 2023, for the

  JeffCo Defendants to respond to the Complaint.

         Respectfully submitted this 21st day of August, 2023.

   JEFFERSON COUNTY ATTORNEY’S OFFICE              RATHOD | MOHAMEDBHAI LLC

   /s/ Rebecca P. Klymkowsky                       /s/ Virginia Hill Butler
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   Attorneys for JeffCo Defendants



                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2023, I filed the foregoing D.C.COLO.LCIVR 6.1(a)
  STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT [ECF 1] via
  CM/ECF which will serve a true and correct copy upon the following:

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                                              /s/ Heather A. Hayward
                                              Heather A. Hayward, Paralegal
